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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :                20Cr274 (DLC)
 UNITED STATES OF AMERICA,               :
                                         :                    ORDER
                 -v-                     :
                                         :
 LUIS A. MEDINA,                         :
                           Defendant.    :
                                         :
 --------------------------------------- X

DENISE COTE, District Judge:

     On October 6, 2020, this Court issued an Order scheduling

the defendant’s videoconference change of plea hearing for

October 30, 2020 at 9 a.m.        The Court has since been informed

that due to a conflict with another proceeding, the time must be

moved.    Accordingly, it is hereby

     ORDERED that the time for the change of plea hearing is

rescheduled for October 30, 2020 at 2:00 p.m. using the

CourtCall platform.      Defense counsel is reminded that she will

be given an opportunity to speak with the defendant by telephone

for fifteen minutes before the proceeding begins (i.e., at 1:45

p.m.).


Dated:      New York, New York
            October 20, 2020
                                    ____________________________
                                             DENISE COTE
                                    United States District Judge
